       Case 8-18-71748-ast            Doc 25       Filed 03/20/18        Entered 03/20/18 19:53:31




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :    Chapter 11
                                                               :
                                             1
ORION HEALTHCORP, INC., et al.,                                :    Case No. 18-71748 (AST)
                                                               :
                          Debtors.                             :    (Joint Administration Pending)
                                                               :
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                     STIPULATED ORDER (I) AUTHORIZING USE OF CASH
                  COLLATERAL AND (II) GRANTING ADEQUATE PROTECTION
                           PURSUANT TO 11 U.S.C. §§ 361 and 363

        Pursuant to the terms of this Stipulated Order (I) Authorizing Use of Cash Collateral and

(II) Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361 and 363 (this “Order”), Orion

Healthcorp, (“Orion” or “Borrower”) and its affiliated debtors and debtors in possession

(collectively with Orion, the “Debtors”) in the above-referenced chapter 11 cases (collectively, the

“Cases”) and Bank of America, N.A. (as the Prepetition Agent (defined below)) have agreed to

the Debtors’ consensual use of cash collateral in accordance with the terms of the Budget

(defined below).

This Court having found good and sufficient cause appearing therefore,

        IT IS HEREBY FOUND that: 2

        A.        On March 16, 2018 (the “Petition Date”), the Debtors commenced the Cases by

filing voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the


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  The Debtors include all of the affiliated entities that are listed on the Appendix attached hereto. The corporate
headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North, Suite 303, Middletown,
NJ 07748.
2
  Pursuant to Federal Rule of Bankruptcy Procedure 7052, findings of fact shall be construed as conclusions of law
and conclusions of law shall be construed as findings of fact, where appropriate.



CHAR2\2003652v4
      Case 8-18-71748-ast         Doc 25     Filed 03/20/18    Entered 03/20/18 19:53:31




“Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District of New York

(the “Court”). The Debtors are operating their businesses and managing their affairs as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. As of the date hereof,

no trustee, examiner, or official committee of creditors holding unsecured claims (a “Creditors’

Committee”) has been appointed in any of these Chapter 11 Cases.

        B.        The Court has jurisdiction over these Chapter 11 Cases, the parties, and the

Debtors’ property pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2)(D). The Court is a proper venue of these Chapter 11 Cases and the Motion under 28

U.S.C. §§ 1408 and 1409.

        C.        The Borrower, the other Debtors and certain non-Debtor affiliates are parties to

the Credit Agreement, dated as of January 30, 2017 (as the same has been amended, restated,

supplemented or modified from time to time, the “Prepetition Credit Agreement”), with Bank of

America, N.A. as administrative agent, swing line lender and L/C issuer (the “Prepetition Agent”),

BMO Harris Bank, N.A., as syndication agent (the “Syndication Agent”) and certain lenders

parties thereto (collectively with the Prepetition Agent, the Syndication Agent and providers of

hedge products and treasury management services secured by the Prepetition Collateral (as

defined below), the “Prepetition Secured Parties”). Pursuant to the terms of the Prepetition

Credit Agreement and the other “Loan Documents” (as defined in the Prepetition Credit

Agreement), the Debtors granted liens and security interests to the Prepetition Agent, for the

benefit of the Prepetition Secured Parties, in substantially all of their prepetition assets (the

“Prepetition Collateral”). The Debtors believe that all of the “cash collateral” of the Debtors, as

such term is defined in Section 363 of the Bankruptcy Code (“Cash Collateral”) is subject to the

prior perfected lien of the Prepetition Secured Parties.


CHAR2\2003652v4
                                                  2
      Case 8-18-71748-ast            Doc 25   Filed 03/20/18     Entered 03/20/18 19:53:31




        D.        Good cause has been shown for entry of this Order, as the Debtors do not have

available sources of working capital and financing to carry on the operation of their business

without the use of the Cash Collateral.

        E.        The Debtors’ ability to maintain business relationships with vendors, suppliers and

customers and to meet payroll and other operating expenses is essential to the Debtors’ continued

viability and the value of their businesses as going concerns. In the absence of the use of the Cash

Collateral, the continued operation of the Debtors’ businesses would not be possible, and serious

and irreparable harm to the Debtors and their estates would occur.

        F.        The Debtors have requested immediate entry of this Order pursuant to Rule 4001

of the Federal Rules of Bankruptcy Procedure. The permission granted herein to use the Cash

Collateral is necessary to avoid immediate and irreparable harm to the Debtors. Entry of this

Order is in the best interests of the Debtors’ estates and creditors, and its implementation will,

among other things, allow for the continued operation, and maintain the going concern values of,

the Debtors’ existing businesses.

        G.        The Prepetition Secured Parties are willing to consent to the Debtors’ limited use

of Cash Collateral pursuant to the terms of this Order. The Prepetition Secured Parties have

made a good faith request for adequate protection of its interests in its collateral.

        H.        The terms and conditions of the Debtors’ use of Cash Collateral are fair and

reasonable under the circumstances, and good cause has been shown for the entry of this Order.

Among other things, the entry of this Order is critical to preserve and maintain the going concern

value of the Debtors and will enhance the Debtors’ prospects to maximize value of the Debtors’

assets in an orderly sale process.




CHAR2\2003652v4
                                                   3
      Case 8-18-71748-ast          Doc 25    Filed 03/20/18     Entered 03/20/18 19:53:31




        Based upon the foregoing findings and conclusions, and good and sufficient cause

appearing therefore;

        IT IS HEREBY ORDERED that:

        1.        Nunc pro tunc to the Petition Date, the Debtors are hereby authorized, during the

period from the Petition Date through and including the Expiration Date (as defined below) to use

the Cash Collateral generated from the operation of the Debtors’ businesses in the ordinary course

through the collection of accounts receivable and the proceeds of other collateral.

        2.        Prior to the expiration of the Debtors’ authority to use Cash Collateral in

accordance with this Order, any bank with which the Debtors have bank accounts subject to

blocked account agreements in favor of the Prepetition Agent are hereby authorized to permit the

Debtors’ access to all Cash Collateral in such bank accounts.

        3.        Subject to the terms and conditions of this Order and the Debtors’ compliance

with the terms of this Order, the Debtors are authorized to use the Cash Collateral for the

purposes set forth in the budget attached hereto as Exhibit “A” and made a part hereof (the

“Budget”). The Budget shall be adhered to, and any variance in expenses shall not exceed ten

percent (10%) of the cumulative budgeted items. Upon the reasonable request of the Prepetition

Agent, during the period between now and the Expiration Date, the Debtors will deliver a report

of the cash usage showing variance from the projected budget. The Debtors shall not pay any

Cash Collateral to professionals for fees, expenses or otherwise, and neither this Order nor the

Prepetition Secured Parties’ consent to the entry of this Order shall act as a consent to any such

payment or an agreement to any “carve out” for professionals retained by the Debtors or any

Creditors’ Committee.




CHAR2\2003652v4
                                                  4
      Case 8-18-71748-ast          Doc 25     Filed 03/20/18      Entered 03/20/18 19:53:31




        4.        Subject to entry of a separate order determining the extent, validity and priority of

the Prepetition Secured Parties’ interest in Cash Collateral, as a condition to the use of Cash

Collateral set forth herein, and to provide adequate protection to the Prepetition Secured Parties

in respect of their interests in the Cash Collateral to the extent of any diminution in the value of

the Cash Collateral occurring from and after the Petition Date (the “Diminution”) caused by or as

a result of the use of Cash Collateral and the imposition of the automatic stay pursuant to section

362 of the Bankruptcy Code, the Debtors are authorized to grant, and by this Order shall be

deemed to have granted to the Prepetition Agent for the benefit of the Prepetition Secured

Parties, valid and perfected replacement liens on and security interests in all of the Debtors’

postpetition assets, including receivables, inventory, payment intangibles, general intangibles or

other similar property created postpetition (provided that, for the avoidance of doubt, these liens

shall not include any actions arising under Sections 544, 546, 547, 548 or 550 of the Bankruptcy

Code), with the same priority on such postpetition assets as the Prepetition Secured Parties held

on the Prepetition Collateral as of the Petition Date (such replacement liens and security interests,

the “Replacement Liens”). The Replacement Liens shall be in addition to any liens in favor of the

Prepetition Secured Parties arising in respect of Section 552(b) of the Bankruptcy Code. In the

event that the Replacement Liens fail to provide adequate protection of the Prepetition Secured

Parties’ interests in their collateral, the Prepetition Secured Parties shall have the right to assert a

claim for the failure of such adequate protection in accordance with Section 507(b) of the

Bankruptcy Code.

        5.        The Debtors’ authority to use Cash Collateral hereunder shall expire on the earlier

of (a) March 23, 2018, at 5:00 p.m. and (b) one business day after delivery to the Debtors by the

Prepetition Agent of a notification that the Debtors have failed to comply with a term of this


CHAR2\2003652v4
                                                    5
      Case 8-18-71748-ast          Doc 25     Filed 03/20/18     Entered 03/20/18 19:53:31




Order (the “Expiration Date”). The rights granted to the Prepetition Secured Parties, including

any lien or administrative priority granted hereunder, shall survive the expiration or termination of

this Order.

        6.        During the period between the entry of this Order and the Expiration Date, as a

condition to the Debtors’ use of Cash Collateral, the Debtors must comply with the terms of the

Budget and must deliver to the Prepetition Agent the report set forth in Paragraph 3 of this Order.

        7.        The rights and obligations of the Debtors and rights of the Prepetition Secured

Parties hereunder are in addition to, and not in lieu or substitution of, or in prejudice to, the rights

or obligations of the parties otherwise existing as of the Petition Date.

        8.        Without the necessity of the filing of financing statements or other documents, this

Order shall be sufficient evidence of the perfected liens and security interests as granted herein.

Such liens and security interests shall be valid and duly perfected against, and binding upon, the

Debtors and any successors thereof, including any trustee appointed herein. The Debtors are

authorized and directed to execute such documents including, without limitation, mortgages,

pledges and Uniform Commercial Code financing statements, and to pay such actual costs and

expenses as may be reasonably required to provide further evidence of the perfection of the liens

and security interests as provided herein. The Prepetition Secured Parties may file a certified

copy of this Order in any filing or recording office in any county or other jurisdiction in which the

Debtors have real or personal property.

        9.        The Debtors are authorized and directed to perform all acts and to make, execute

and deliver any and all instruments as may be necessary to implement the terms and conditions of

this Order and the transactions described herein. The stay of section 362 of the Bankruptcy Code

is hereby modified to permit the parties to accomplish the transactions contemplated herein.


CHAR2\2003652v4
                                                   6
      Case 8-18-71748-ast          Doc 25     Filed 03/20/18     Entered 03/20/18 19:53:31




        10.       This Order is without prejudice to all rights of the Prepetition Secured Parties to

seek modification or enhancement of the grant of adequate protection provided herein and/or to

pursue all other rights and remedies available under the Bankruptcy Code. The Prepetition

Secured Parties specifically reserve the right to object to any use of Cash Collateral after the

Expiration Date or that is in any manner inconsistent with this Order.

        11.       The Debtors shall continue to keep in force adequate insurance coverage for, and

to maintain, all the collateral securing the claims of the Prepetition Secured Parties and shall

immediately report to the Prepetition Agent notice of any change in the status of their insurance

coverage.

        12.       In the event of the appointment of a trustee, either during the Chapter 11

proceeding or upon a conversion to Chapter 7, the provisions of this Order shall be binding upon

any such trustee.

        13.       From and after the Expiration Date, the Debtors shall have no ability to use any

Cash Collateral absent further order of this Court.

        14.       Notice of the entry of this Order shall be served by the Debtors pursuant to

Bankruptcy Rules 2002 and 4001 and in accordance with the Local Bankruptcy Rules of the

Eastern District of New York (the “Local Rules”) on (i) the Debtors’ seventy-five (75) largest

unsecured creditors on a consolidated basis, (ii) counsel to the Prepetition Agent, (iii) any parties

that have filed a notice of appearance in these Chapter 11 Cases pursuant to Bankruptcy Rule

2002, (iv) all of the landlords of the Debtors’ commercial real properties, (v) all known holders of

liens upon the Debtors’ assets, (vi) all persons asserting an interest in any of the Debtors’ assets,

(vii) the New York State Attorney General and the New York State Department of Taxation and

Finance, (viii) the Internal Revenue Service, and (ix) the United States Trustee for the Eastern


CHAR2\2003652v4
                                                   7
      Case 8-18-71748-ast        Doc 25    Filed 03/20/18   Entered 03/20/18 19:53:31




District of New York (the “U.S. Trustee”). Under the circumstances, no further notice of this

Order is necessary or shall be required.


Dated: March __, 2018



                                               ____________________________________
                                               UNITED STATES BANKRUPTCY JUDGE




CHAR2\2003652v4
                                               8
Case 8-18-71748-ast   Doc 25   Filed 03/20/18   Entered 03/20/18 19:53:31
      Case 8-18-71748-ast   Doc 25   Filed 03/20/18   Entered 03/20/18 19:53:31




ACCEPTED TO AND AGREED:               Orion HealthCorp, Inc.
                                      Constellation Healthcare Technologies, Inc.
                                      NEMS Acquisition, LLC
                                      Northeast Medical Solutions, LLC
                                      NEMS West Virginia, LLC
                                      Physicians Practice Plus, LLC
                                      Physicians Practice Plus Holdings, LLC
                                      Medical Billing Services, Inc.
                                      Rand Medical Billing, Inc.
                                      RMI Physician Services Corporation
                                      Western Skies Practice Management, Inc.
                                      Integrated Physician Solutions, Inc.
                                      NYNM Acquisition, LLC
                                      Northstar FHA, LLC
                                      Northstar First Health, LLC
                                      Vachette Business Services, Ltd.
                                      MDRX Medical Billing, LLC
                                      VEGA Medical Professionals, LLC
                                      Allegiance Consulting Associates, LLC
                                      Allegiance Billing & Consulting, LLC
                                      Phoenix Health, LLC


                                      By: /s/ Timothy J. Dragelin
                                      Name: Timothy J. Dragelin
                                      Title: Authorized Signatory




                                        10
CHAR2\2003652v4
        Case 8-18-71748-ast       Doc 25     Filed 03/20/18     Entered 03/20/18 19:53:31




                                            APPENDIX

#                        Debtor Name                          Case No.       Last 4 Digits of EIN
1.       Orion HealthCorp, Inc.                               18-71748               7246
2.       Constellation Healthcare Technologies, Inc.          18-71749               0135
3.       NEMS Acquisition, LLC                                18-71750               7378
4.       Northeast Medical Solutions, LLC                     18-71751               2703
5.       NEMS West Virginia, LLC                              18-71752             unknown
6.       Physicians Practice Plus, LLC                        18-71753               4122
7.       Physicians Practice Plus Holdings, LLC               18-71754               6100
8.       Medical Billing Services, Inc.                       18-71755               2971
9.       Rand Medical Billing, Inc.                           18-71756               7887
10.      RMI Physician Services Corporation                   18-71757               7239
11.      Western Skies Practice Management, Inc.              18-71758               1904
12.      Integrated Physician Solutions, Inc.                 18-71759               0543
13.      NYNM Acquisition, LLC                                18-71760             unknown
14.      Northstar FHA, LLC                                   18-71761             unknown
15.      Northstar First Health, LLC                          18-71762             unknown
16.      Vachette Business Services, Ltd.                     18-71763               4672
17.      MDRX Medical Billing, LLC                            18-71764               5410
18.      VEGA Medical Professionals, LLC                      18-71765               1055
19.      Allegiance Consulting Associates, LLC                18-71766               7291
20.      Allegiance Billing & Consulting, LLC                 18-71767               7141
21.      Phoenix Health, LLC                                  18-41488               0856




  CHAR2\2003652v4
      Case 8-18-71748-ast         Doc 25   Filed 03/20/18     Entered 03/20/18 19:53:31




                                           EXHIBIT A

                                    APPROVED BUDGET


              Disbursement         Amount (in 000’s)   Notes
              Payroll                          $437    Net pay and 401k w/h
              Benefits (401k)                    38    IPS 401K match pass through
              Utilities deposit                  40    Utilities deposit
              Critical vendors                  182    Checks from previous week
              Management fee                     13    Checks from previous week
              Employee expense                    5    Checks from previous week
              reimbursements
              Total                            $715




CHAR2\2003652v4
